
55 So.3d 736 (2011)
PERETZ PROPERTIES, LLC, a Florida limited liability company, Appellant,
v.
MRHOP INVESTMENT, LLC, a Florida limited liability company, Appellee.
No. 2D10-36.
District Court of Appeal of Florida, Second District.
March 11, 2011.
Kevin L. Hagen of Hagen &amp; Hagen, P.A., Ft. Lauderdale, for Appellant.
W.A. "Drew" Crawford, Sean R. Parker, and Richard A. Lopez of Boswell &amp; Dunlap, LLP, Bartow, for Appellee.
LaROSE, Judge.
The appeal is dismissed for lack of jurisdiction. See Cunningham v. MBNA Am. Bank, N.A., 8 So.3d 438, 440 (Fla. 2d DCA 2009) (holding dismissal of compulsory counterclaim with prejudice is not an appealable final order until final disposition of the underlying case).
KHOUZAM and CRENSHAW, JJ., Concur.
